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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


 ATLANTIC SPECIALTY INSURANCE                                             Court File No.:
 COMPANY,

               Plaintiff,
                                                       COMPLAINT FOR DECLARATORY
 v.                                                    JUDGMENT AND EQUITABLE AND
                                                         CONTRACTUAL SUBROGATION
 LEXINGTON INSURANCE COMPANY
 and BCS INSURANCE COMPANY,

               Defendants.


       Plaintiff Atlantic Specialty Insurance Company (“ASIC”), by and through its undersigned

counsel, brings this action against defendants Lexington Insurance Company (“Lexington”), and

BCS Insurance Company (“BCS”) and alleges as follows:

                                     I. INTRODUCTION

       1.       ASIC seeks a judicial declaration pursuant to 28 U.S.C. §§ 2201 and 2202 and the

Minnesota Uniform Declaratory Judgment Act, M.S.A. § 555.01, that Lexington and BCS had a

duty to indemnify Premera Blue Cross (“Premera”), under excess managed care errors and

omissions liability policies that Lexington and BCS issued to Premera (the “E&O Policies”), for

Premera’s settlements of data breach and breach of confidentiality claims asserted in: (i) In re:

Premera Blue Cross Customer Data Security Breach Litigation, Case No. 3:15-md-2633 (D. Or.)

(the “MDL Action”) and (ii) actions filed by state Attorneys General (the “AG Actions”).

       2.       ASIC also seeks a judicial declaration pursuant to 28 U.S.C. §§ 2201 and 2202

and the Minnesota Uniform Declaratory Judgment Act, M.S.A. § 555.01, that ASIC did not have

a duty to indemnify Premera, under Premera’s commercial general liability and umbrella liability

policies that ASIC issued to Premera (the “Commercial Policies”), for Premera’s settlements of
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data breach and breach of confidentiality claims asserted in the MDL Action and the AG

Actions.

       3.       ASIC indemnified Premera for the settlements of the MDL Action and the AG

Actions under the Commercial Policies, pursuant to a reservation of ASIC’s right to later

subrogate against Lexington and BCS. ASIC indemnified Premera under the Commercial

Policies, because Lexington and BCS failed to indemnify Premera pursuant to the E&O Policies.

ASIC therefore seeks to recover from Lexington and BCS pursuant to theories of contractual and

equitable subrogation.

       4.       The E&O Policies follow the form of the Ironshore primary managed care errors

and omissions liability policy which afforded coverage to Premera, subject to other terms and

conditions, for errors and omissions in the “failure to maintain confidentiality of information

regarding Medical Services or information obtained in the provision of Managed Care Service

and limiting the release or use of such information in conformance with the requirements of the

law.” Managed Care Service is defined by the E&O Policies to include Premera’s “[c]reation,

operation, maintenance and use of the Insured Entity’s [Premera’s] website or network.”

       5.       The Commercial Policies afforded coverage to Premera, subject to other terms

and conditions, for “personal and advertising” injury, including “[o]ral or written publication of

material that violates a person’s right to privacy,” but they did not afford coverage for the errors

and omissions in the protection of confidential information obtained through the use and

maintenance of Premera’s computer network and resulted in HIPAA violations.

       6.       Premera settled the MDL Action for $32 million pursuant to a settlement

agreement (the “MDL Settlement”) that received final approval by the U.S. Court for the District

of Oregon on March 2, 2020. Premera settled the AG Actions for $10 million in or around July

2019 (the “AG Settlement”). Premera sought indemnification under both the E&O Policies and


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the Commercial Policies for the MDL Settlement. ASIC contributed approximately $12.2

million toward the MDL Settlement under the Commercial Policies pursuant to a reservation of

its rights to later subrogate against Lexington and BCS.

          7.       While ASIC made its contribution in order to protect Premera’s interests,

Lexington refused to contribute to the MDL Settlement, even after Ironshore, the underlying

primary E&O carrier, contributed $10 million to the MDL Settlement and exhausted its policy

limits.

          8.       Premera likewise sought indemnification under the E&O Policies and the

Commercial Policies for the AG Settlement. ASIC contributed approximately $2.9 million

toward the AG Settlement pursuant to a reservation of its rights to later subrogate against

Lexington and BCS.

          9.       ASIC made this contribution to protect Premera’s interests even though the

Commercial Policies did not cover the fines and penalties incurred by Premera due to the data

breach. Lexington only contributed $2.7 million to the AG Settlement and refused to fund the

entire AG Settlement even though the Ironshore policy limits had been exhausted, and the

Lexington Policy and BCS Policy specifically afforded coverage for the fines and penalties on

which the AG Settlement was based.

          10.      ASIC seeks to recover from Lexington and BCS up to $15.1 million that ASIC

contributed to the MDL Settlement and the AG Settlement, because the E&O Policies

specifically afforded coverage for claims arising from Premera’s errors and omissions in

maintaining the confidentiality of information that Premera obtained in the provision of Managed

Care Service and Private Information Protection, including the maintenance of Premera’s

computer network, and from Premera’s failure to limit the release or use of such information in

conformance with the law.


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       11.     While the E&O Policies specifically provided coverage for the MDL Settlement

and the AG Settlement, the Commercial Policies do not afford coverage for claims arising from

Premera’s failure to protect and properly maintain and secure its computer network, on which the

MDL Settlement and AG Settlement were based. The damages that were at issue in the MDL

Action and the AG Actions are not “personal and advertising injury,” as defined in the

Commercial Policies, and were also otherwise precluded from coverage by other definitions and

exclusions in the Commercial Policies.

                                          II. PARTIES

       12.     ASIC is incorporated under the laws of the State of New York and has its

principal place of business in the State of Minnesota. It is an insurance company authorized to

do business in the State of Minnesota and elsewhere.

       13.     Lexington Insurance Company is incorporated under the laws of the State of

Delaware and has its principal place of business in the State of Massachusetts. It is an insurance

company authorized to do business in the State of Minnesota and elsewhere.

       14.     BCS Insurance Company is incorporated under the laws of the State of Ohio and

has its principal place of business in the State of Illinois. It is an insurance company authorized

to do business in the State of Minnesota and elsewhere.

                              III. JURISDICTION AND VENUE

       15.     This Court has subject matter jurisdiction over this action for declaratory relief

pursuant to 28 U.S.C. §§ 2201 and 2202 and Rule 57 of the Federal Rules of Civil Procedure.

       16.     An actual justiciable controversy exists between and among ASIC, BCS and

Lexington within the meaning of 28 U.S.C. § 2201 regarding whether ASIC may recover from

Lexington and BCS the amounts ASIC contributed to the MDL Settlement and the AG

Settlement that should have been paid by Lexington and/or BCS.


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        17.     This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a)(1) because

the amount in controversy exceeds the sum or value of $75,000.00, exclusive of interest and

costs, and the suit is between citizens of different states.

        18.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 in that a substantial

part of the events or omissions giving rise to this claim occurred in this judicial district, and the

defendants do business in this judicial district.

                              IV. THE UNDERLYING ACTIONS

A.      The MDL Action

        19.     The MDL Action included a nationwide class and alternative statewide classes

that asserted claims resulting from a data breach of Premera’s computer network, which

compromised the confidential information of approximately 10.4 million customers and

employees (the “MDL Plaintiffs”). The breach allegedly resulted from malware installed by

hackers on Premera’s systems in May 2014.

        20.     The MDL Plaintiffs alleged that in order to become a Premera member or receive

healthcare services from a provider within the Premera network, they were required to give

Premera their medical, financial, and/or personal information, including dates of birth, mailing

addresses, telephone numbers, email addresses, social security numbers, medical claims

information, financial information, and other protected health information as defined by the

Health Insurance Portability and Accountability Act (“HIPAA”). See First Amended

Consolidated Class Action Complaint (“FAC”), attached as Exhibit A hereto.

        21.     The MDL Plaintiffs asserted that, based on Premera’s collection of confidential

medical, financial, or personal information from its customers and members, Premera had a duty

to use reasonable means to safeguard and prevent disclosure of consumers’ personal information

in accordance with HIPAA and industry standards.


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       22.      The MDL Plaintiffs alleged that on May 5, 2014, hackers sent a “phishing” email

to a Premera employee, who downloaded malware allowing hackers to access Premera’s servers.

       23.      The malware allegedly remained active on Premera’s network through at least

January 2015, when its presence was detected by Premera. However, Premera’s remediation of

its network was not complete until the first week of March 2015. The MDL Plaintiffs’

confidential information continued to be stolen between January 2015 and March 2015.

       24.      The MDL Plaintiffs also alleged that Premera’s network-security procedures were

easily exploited by hackers, and Premera knew or should have known that its deficient security

and privacy practices would likely result in a data breach.

       25.      Premera allegedly breached its duties by failing to use reasonable measures to

protect consumers’ confidential data from hackers and by failing to provide timely notice of the

breach. The MDL Plaintiffs alleged the following specific negligent acts or omissions by

Premera:

             a. Failing to adopt, implement, and maintain adequate security measures to
                safeguard confidential data;

             b. Failing to monitor the security of its networks adequately;

             c. Allowing unauthorized access to confidential data;

             d. Failing to recognize in a timely manner that confidential data had been
                compromised; and

             e. Failing to warn plaintiffs in a timely manner that their confidential
                information was likely to be and had been compromised.

       26.      On May 30, 2019, the MDL Plaintiffs filed an unopposed motion for preliminary

approval of the MDL Settlement. The MDL Settlement (attached as Exhibit B hereto) sets forth

terms pursuant to which Premera contributed $32 million toward a fund for the benefit of the

members of the Settlement Class.

       27.      On March 2, 2020, the Court granted final approval of the MDL Settlement.


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B.     The AG Actions

       28.     The AG Actions were based on Premera’s alleged responsibility for the same data

breach at issue in the MDL Action but were brought by Attorneys General of thirty states.

       29.     The AG Actions alleged that Premera failed to safeguard its customers’ personal,

medical and financial information, resulting in the exposure of approximately 10.4 million

customers’ information to unauthorized parties between May 5, 2014 and March 6, 2015. The

AG Actions also alleged that Premera inadequately safeguarded against security breaches and

failed to comply with security and privacy standards of HIPAA, which permitted unauthorized

access to its customers’ confidential information.

       30.     Pursuant to a settlement totaling $10 million between Premera and a multistate

committee of representatives, the Attorneys General filed complaints and consent judgments

against Premera on or around July 11, 2019. The complaints alleged violations of HIPAA and

state consumer protection statutes, data safeguards, and unfair or deceptive practices of law. For

example, the State of Washington’s complaint (attached as Exhibit C hereto) alleges the

following:

       In the years leading up to the breach, Premera’s own internal IT auditors and
       cybersecurity assessors identified multiple network vulnerabilities— such as
       inadequate safeguards against phishing attempts, inadequate network
       segmentation, ineffective password management policies, ineffectively configured
       security tools, and inadequate patch management—many of which Premera
       accepted without adequate remediation. ¶ 3.3.

       For years leading up to the breach, Premera failed to comply with the security and
       privacy standards of HIPAA. These include, failing to properly map ePHI on its
       networks, ensuring appropriate access privileges to ePHI based on job function,
       enforcing appropriate safeguards to secure physical access to data centers,
       regularly monitoring log in attempts, regularly and accurately assessing risks to
       ePHI, updating its security program to protect against known cybersecurity
       threats, and adequately mitigating identified risks. ¶ 3.5.




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       31.      Each state’s consent decree limits the Attorney General’s use of Premera’s

settlement payments. For example, the State of Washington’s Consent Decree provides the

following:

       No later than thirty (30) days after the EFFECTIVE DATE, PREMERA shall pay
       a total of $5,432,677.04 to the Attorney General’s Office. The Attorney General
       shall use the funds for recovery of its costs and attorneys’ fees in investigating
       this matter, future monitoring and enforcement of this Consent Decree, future
       enforcement of RCW 19.86, or for any lawful purpose in the discharge of the
       Attorney General’s duties at the sole discretion of the Attorney General.

Exh. D ¶ 7.1.

                               V. THE INSURANCE POLICIES
A.     The Commercial Policies
       32.      ASIC issued @vantage for Financial Services Premier policy number 712-00-78-

31-0006 to Premera for policy period October 1, 2013 to October 1, 2014, with primary

commercial general liability limits of insurance of $1 million each occurrence, $1 million for

personal and advertising injury, and $2 million in the aggregate, subject to a $5,000 per

occurrence deductible for bodily injury liability and/or property damage liability (the “ASIC

Primary Policy”). A full and complete copy of the ASIC Primary Policy is included in

Exhibit E-1 hereto.

       33.      The Commercial General Liability Coverage Form of the ASIC Primary Policy

provides that, subject to the policy’s terms, conditions, definitions and exclusions, ASIC will pay

those sums that Premera becomes legally obligated to pay as damages because of “bodily

injury,” “property damage,” or “personal and advertising injury” to which the insurance applies.

The insurance applies to “bodily injury” and “property damage” caused by an “occurrence” in

the “coverage territory” during the policy period, and to “‘personal and advertising injury’

caused by an offense arising out of your business but only if the offense was committed in the

‘coverage territory’ during the policy period.” Because the data breach took place on May 2014,


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ASIC indemnified Premera under the ASIC Primary Policy with the policy period of October 1,

2013 to October 1, 2014.

       34.      “Bodily injury” is defined in the ASIC Primary Policy as bodily injury, sickness

or disease sustained by a person, “including death resulting from any of these at any time.”

       35.      “Property damage” is defined in the ASIC Primary Policy as follows:

                a. Physical injury to tangible property, including all resulting loss of use
                   of that property. All such loss of use shall be deemed to occur at the
                   time of the physical injury that caused it; or

                b. Loss of use of tangible property that is not physically injured. All such
                   loss of use shall be deemed to occur at the time of the “occurrence”
                   that caused it.

                   Tangible property does not include money, currency, coin, bank notes,
                   Federal Reserve notes, money orders, travelers checks, instruments or
                   contracts that represent money or an interest in property, including but
                   not limited to certificated and uncertificated securities, negotiable
                   instruments, certificates of deposit, drafts, checks, acceptances,
                   evidence of debt, security agreements, withdrawal orders, certificates
                   of origin or title, letters of credit, warrants, scrip, contracts, bills of
                   lading, insurance policies, abstracts of title, deeds and mortgages on
                   real estate, revenue and other stamps, tokens, unsold State lottery
                   tickets, books of account and other records, gems, jewelry, precious
                   metals in bars or ingots, and all other property of a similar nature.

                   For the purposes of this insurance, electronic data is not tangible
                   property.

                   As used in this definition, electronic data means information, facts or
                   programs stored as or on, created or used on, or transmitted to or from
                   computer software, including systems and applications software, hard
                   or floppy disks, CD-ROMS, tapes, drives, cells, data processing
                   devices or any other media which are used with electronically
                   controlled equipment.

       36.      The ASIC Primary Policy defines an “occurrence” as “an accident, including

continuous or repeated exposure to substantially the same general harmful conditions.”

       37.      Coverage B, “Personal and advertising injury,” is defined in relevant part as

injury including consequential “bodily injury,” arising out of one or more of the following

offenses:

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                                              *        *      *

       e.       Oral or written publication of material that violates a person’s right of
                privacy;

                                              *        *      *

       38.      The ASIC Primary Policy contains the following Coverage B exclusion for

“personal and advertising injury:”

       2. Exclusions
        This insurance does not apply to:

                                              *        *      *

                p.      Recording And Distribution Of Material Or Information In
                        Violation Of Law

                        “Personal and advertising injury” arising directly or indirectly out
                        of any action or omission that violates or is alleged to violate:

                                              *        *      *

                        (4)    Any federal, state or local statute, ordinance or regulation,
                               other than the TCPA, CAN-SPAM Act of 2003 or FCRA
                               and their amendments and additions, that addresses,
                               prohibits, or limits the printing, dissemination, disposal,
                               collecting, recording, sending, transmitting, communicating
                               or distribution of material or information.

       39.      The ASIC Primary Policy also contains an endorsement, Form VCG 221 07 09—

Financial Institutions, with applicable exclusions as follows:

       A. Additional Bodily Injury And Property Damage Exclusions

             In Section I – Coverage A. Bodily Injury And Property Damage Liability 2.
             Exclusions and Coverage B. Personal and Advertising Injury 2. Exclusions, the
             following exclusions are added. These additional exclusions do not replace any other
             exclusions.
             This insurance does not apply to:

                                              *        *      *




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          c.    Professional Services

                “Bodily injury,” “property damage” or “personal and advertising injury”
                arising out of the rendering or failure to render professional services
                including but not limited to:

                                             *        *      *

                (4)    Auditing or maintaining of accounts or records of others;

                                             *        *      *

                (6)    Acting in any capacity as a fiduciary or trustee;

                                             *        *      *

                (8)    Performing electronic data processing, systems analysis, design,
                       programming or consulting or other similar services;

          d.    Fines and penalties

                Any obligation to pay fines and penalties.

          40.   ASIC issued @vantage for Financial Services Premier policy number 712-00-78-

31-0006 to Premera for policy period October 1, 2013 to October 1, 2014, with umbrella liability

limits of insurance of $15 million each occurrence and in the aggregate (the “ASIC Umbrella

Policy”). A full and complete copy of the ASIC Umbrella Policy is included in Exhibit E-2

hereto.

          41.   The Umbrella Liability Coverage Form in the ASIC Umbrella Policy provides

that ASIC will pay on behalf of the insured “Ultimate Net Loss” in excess of the “retained limit”

because of “bodily injury,” “property damage,” or “personal and advertising injury” to which the

insurance applies. The ASIC Umbrella Policy contains the same definitions of “bodily injury,”

“property damage,” or “personal and advertising injury” as the ASIC Primary Policy.” Because

the data breach took place on May 2014, ASIC indemnified Premera under the ASIC Primary

Policy with the policy period of October 1, 2013 to October 1, 2014.




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       42.      The ASIC Umbrella Policy defines “Ultimate Net Loss” as: “the total amount of

damages in excess of the ‘retained limit’ for which the insured is legally liable in payment of

‘bodily injury,’ ‘property damage,’ and ‘personal and advertising injury.’ ‘Ultimate Net Loss’

may be established by adjudication, arbitration, or a compromise settlement to which we have

previously agreed in writing.”

       43.      The ASIC Umbrella Policy defines the “retained limit” as follows:

                “Retained limit” means the total of all insurance amounts available to the
                insured and applicable to any loss covered under this Coverage Part.

                All insurance amounts available to the “insured” as specified above shall
                include not only any insurance shown in Schedule of Underlying
                Insurance, of the Umbrella Declarations of this policy, but also any other
                valid and collectible insurance as specified in Condition 5, Other
                Insurance.

       44.      The ASIC Umbrella Policy also contains an endorsement, Form VCU 284 05 09

—Recording and Distribution Of Material Or Information In Violation Of Law Exclusion, which

excludes “bodily injury,” “property damage,” or “personal and advertising injury” arising

directly or indirectly out of any action or omission that violates or is alleged to violate:

                                               *        *      *

                (4)    Any federal, state or local statute, ordinance or regulation, other
                       than the TCPA, CAN-SPAM Act of 2003 or FCRA and their
                       amendments and additions, that addresses, prohibits, or limits the
                       printing, dissemination, disposal, collecting, recording, sending,
                       transmitting, communicating or distribution of material or
                       information.

                                               *        *      *

       45.      The ASIC Umbrella Policy also contains an endorsement, Form VCU 212 07

09—Financial Institutions, with the applicable exclusions that read as follows:

             Additional Bodily Injury And Property Damage Exclusions

             In Section I – Coverage A. Bodily Injury And Property Damage Liability 2.
             Exclusions and Coverage B. Personal and Advertising Injury 2. Exclusions, the


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             following exclusions are added. These additional exclusions do not replace any other
             exclusions.
             This insurance does not apply to:

                                              *        *      *

       c.       Professional Services

                “Bodily injury,” “property damage” or “personal and advertising injury”
                arising out of the rendering or failure to render professional services
                including but not limited to:

                                              *        *      *

                (4)     Auditing or maintaining of accounts or records of others;

                                              *        *      *

                (6)     Acting in any capacity as a fiduciary or trustee;

                                              *        *      *

                (8)     Performing electronic data processing, systems analysis, design,
                        programming or consulting or other similar services; . . .

       d.       Fines and penalties

                Any obligation to pay fines and penalties.

                                              *        *      *

B.     The E&O Policies

       46.      Ironshore issued Managed Care Errors and Omissions Liability Policy

No. 000728305 to Premera for the policy period October 1, 2014 to October 1, 2015, which

affords coverage to Premera on a claims-made and reported basis (the “Ironshore E&O Policy,”

attached hereto as Exhibit F). The Ironshore E&O Policy has a $10 million aggregate and each

Claim or Related Claim liability limit, subject to a $1.5 million self-insured retention for each

Class Action Claim. The claims arising from the data breach were first made and reported to

Ironshore during the October 1, 2014 to October 1, 2015 policy period. Ironshore exhausted the

liability limits of its E&O Policy with its $10 million contribution to the MDL Settlement.



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47.    Insuring Agreement A of the Ironshore E&O Policy states:

       (A)     Managed Care Errors and Omissions Insurance

               The Underwriter will pay on behalf of the Insured any Loss which
               the Insured is legally obligated to pay as a result of any Claim
               that is first made against the Insured during the Policy Period and
               reported to the Underwriter either during the Policy Period or in
               any event within ninety (90) days after the end of the Policy
               Period, in accordance with CONDITION (B) of this Policy.

48.    The Ironshore E&O Policy defines “Loss” as follows:
(l) “Loss” means any Private Information Protection Event Expenses, Defense Expenses
and any monetary amount with an Insured is legally obligated to pay as a result of a
Claim.
Moreover, “Loss” includes:
[F]ines and penalties imposed under the Health Insurance Portability and
Accountability Act or any similar local, state or federal privacy statute or
regulation or in Claims for Antitrust Activity, but only if such fines and penalties
are insurable under applicable law most favorable to the insurability of such fines
and penalties.
49.    The Ironshore E&O Policy defines “Claim” and “Wrongful Act” as follows:

                                      *        *     *

(C)    “Claim” means any written notice received by any Insured that a person
       or entity, including but not limited to any federal, state or local
       government in any capacity, intends to hold an Insured responsible for a
       Wrongful Act which was committed or allegedly committed on or after
       the Retroactive Date listed in ITEM 7 of the Declarations. In clarification
       and not in limitation of the foregoing, such notice may be in the form of an
       arbitration, mediation, judicial, declaratory or injunctive proceeding. A
       Claim will be deemed to be made when such written notice is first
       received by the President, Chief Executive Officer, Chief Financial
       Officer, member of the legal department, or member of the risk
       management department of the Insured.

                                      *        *     *

       “Wrongful Act” means:
       (1) any actual or alleged act, error or omission in the performance of, or any
       failure to perform, a Managed Care Service by any Insured Entity or by any
       Insured Person acting within the course and scope of his or her duties or capacity
       as such;


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                (2) any actual or alleged act, error or omission in the performance of, or any
                failure to perform, Private Information Protection by any Insured Entity or by
                any Insured Person acting within the course and scope of his or her duties or
                capacity as such.

       50.      The definition of “Managed Care Service” was amended in its entirety by

endorsement MC.End. 141 (2.15 ed.) to read as follows:

       “Managed Care Service” means any services or activities performed in the
       administration or management of health care, consumer directed health care, behavioral
       health, prescription drug, dental, vision, long or short term disability, automobile medical
       payment, or workers’ compensation plans, whether provided on paper, in person,
       electronically, or in any other form and whether performed on behalf of the Insured or by
       the Insured for itself or on behalf of any other party for a fee.

       It is understood and agreed that the definition of Managed Care Service includes
       but is not limited to the following services of activities: Provider Selection;
       Utilization Review; advertising, marketing, selling, or enrollment for health care
       or workers’ compensation plans; Claim Services; establishing and maintaining
       health care provider networks; reviewing the quality of Medical Services or
       providing quality assurance; design and/or implementation of financial incentive
       plans and benefits plans; Healthcare Consulting; risk management services;
       management of independent agents; wellness or health promotion education;
       development or implementation of clinical guidelines, practice parameters or
       protocols; and triage of payment of Medical Services.

       51.      The Amended Definition of “Managed Care Service” was further amended by

endorsement to specifically include the following:

       In consideration of the premium charged, it is understood and agreed that the term
       “Managed Care Service,” as defined in Section II DEFINITION (J) of this Policy, shall
       include:

       (1) The creation, operation, maintenance and use of the Insured Entity’s website or
           network;

       (2) The maintenance of security mechanisms which are designed to control or restrict
           access to a computer network, or parts thereof, in order to prevent a breach of such
           computer network which results in either:

             a. unauthorized access to, use of, or tampering with, a third party’s computer
                network, or

             b. the inability of an authorized third party to gain access to the Insured’s services.




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             Such security mechanisms include hardware, software and firmware, including but
             not limited to firewalls, filters, routers, intrusion detection software, antivirus
             software and automated password management applications; and

                                       *        *         *

       52.      The Ironshore E&O Policy defines “Private Information Protection” as follows:

       (M) “Private Information Protection” means maintaining the confidentiality of
       information regarding Medical Services or information obtained in the provision of
       Managed Care Services and limiting the release or use of such information in
       conformance with requirements of the law.

       53.      Lexington issued excess E&O insurance to Premera on a claims-made-and-

reported basis under Managed Care Follow-Form Excess Policy No. 01-615-04-33 for the policy

period October 1, 2014 to October 1, 2015 (the “Lexington Policy,” attached hereto as

Exhibit G).

       54.      The Lexington Policy incorporates terms, conditions and definitions of the

Ironshore E&O Policy, including but not limited to the definitions of “Wrongful Act,” “Managed

Care Service” and “Private Information Protection.”

       55.      Based on information and belief, Item 6 of the Lexington Policy Declarations

page includes a typographical error in the policy number and policy period of the underlying

Ironshore E&O Policy. The Declarations page of the Lexington Policy identifies the Ironshore

E&O Policy as the “Followed Policy:

                                            *         *       *
       Item 6. Followed Policy:
               Insurance Company: Ironshore Specialty Insurance Company
               Policy Number: 001891400
               Policy Period: From: January 1, 2014    To: January 1, 2015

       Item 7. Underlying Limits of All Underlying Policies in excess of which this
               policy applies:
               Total Aggregate Limits of Insurance:  $10,000,000
               Total Each Claim Limits of Insurance: $10,000,000




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                     (Underlying Limits may include additional amounts over which the
                     Company is excess, including self-insured retentions, deductibles, and
                     other insurance. See the definition of Underlying Limits in the policy
                     form.)
                                              *      *       *
Based on information and belief, Item 6 of the Lexington Policy Declarations page includes a

typographical error in the policy number and policy period for the underlying Ironshore E&O

Policy.

          56.      The Lexington Policy provides coverage as follows:

          I.       INSURING AGREEMENT

                   A.     The Company will pay those sums that the Insured becomes
                          legally obligated to pay as damages and/or Defense Expenses in
                          excess of the Underlying Limits by reason of exhaustion of such
                          limits and to which this insurance applies, subject to:

                          1.     the terms and conditions of the Followed Policy,

                          2.     the Limits of Insurance shown in the Declarations, and

                          3.     the Retroactive Date shown in Item 5 of the Declarations,

                   B.     Except with regard to any terms or conditions of this policy (or any
                          endorsement modifying this policy) inconsistent with the Followed
                          Policy, the provisions of the Followed Policy are incorporated as
                          part of this policy.

          II.      SETTLEMENT AND DEFENSE
                   Notwithstanding any provision of the Underlying Policies to the contrary,
                   the Company shall not have the duty to defend any Claim, suit or
                   proceeding against any Insured, whether within or in excess of the
                   Underlying Limits. However, the Company shall have the right, at its own
                   expense, to associate with the Insureds in the defense, negotiation and
                   settlement of any Claim, suit or proceeding that might result in the
                   Company’s obligation to pay any amount of damages and/or Defense
                   Expenses under this policy. The Insureds shall give the Company full
                   cooperation and such information as the Company may reasonably require.
                   Upon reduction or exhaustion of the Underlying Limits, any Defense
                   Expenses to be incurred by the Insured in the defense of any Claim, suit
                   or proceeding shall be subject to the approval of the Company and the
                   Company reserves the right to approve defense counsel, which shall not be
                   unreasonably withheld.

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               The Insured must inform the Company of any offer to settle or compromise
               any Claim, suit or proceeding in excess of the Underlying Limits. The
               Company has a right to approve such settlement or compromise.
                                           *       *       *

The terms, conditions and definitions of the Ironshore E&O Policy are specifically

incorporated into the Lexington Policy, including but not limited to the definitions for

“Wrongful Act,” “Managed Care,” and “Private Information Protection.”

       57.     The Lexington Policy includes the following definitions, among others:

               C.      Followed Policy means the policy shown in Item 6 of the
                       Declarations.

               D.      Insured means the First Named Insured and any other person or
                       organization qualifying as a Named Insured or Insured under the
                       Followed Policy [. . . .]

               F.      Underlying Limits means the sum of:

                       1.     The Aggregate Limits of Insurance of All Underlying
                              Policies,

                       2.     All deductibles or self-insured retentions applicable to such
                              Underlying Policies[.]

               G.      Underlying Policies means any underlying policies, including the
                       Followed Policy.

       58.     Item 3 of the Declarations to the Lexington Policy, “Limits of Insurance,”

provides for a $10 million limit of liability in the aggregate and for each claim. Item 6 of the

declarations identifies the “Followed Policy” as Ironshore Specialty Insurance Policy

No. 001891400, issued for policy period January 1, 2014 to January 1, 2015. Item 7 of the

declarations identifies the “Underlying Limits” as $10 million in the aggregate and each claim.

       59.     Section III.D of the Lexington Policy provides:

       In the event of the reduction or exhaustion [of] the Underlying Limits under the
       Underlying Policies by reason of actual payment by the underlying insurers (and
       the Insured has paid the full amount of any applicable deductible or self-insured
       retention), then subject to the Limits of Insurance of this policy, the policy shall:


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               1.     In the event of reduction pay excess of the reduced Underlying
                      Limits, or

               2.     In the event of exhaustion, with respect to any subsequent Claim or
                      suit, the policy shall become primary insurance; provided that, this
                      policy shall only pay excess of the applicable Retention or
                      applicable Self-Insured Retention of the Followed Policy
                      (notwithstanding the exhaustion of the Followed Policy).

       60.     BCS issued Managed Care Errors & Omissions Liability Insurance Policy No.—

MCE4300002 to Premera for policy period October 1, 2014 to October 1, 2015, with a $10

million limit of liability in the aggregate per coverage period (the “BCS Policy,” attached hereto

as Exhibit H). The Declarations page of the BCS Policy identifies the Ironshore E&O Policy as

underlying primary insurance and the Lexington Policy as underlying excess insurance, as

follows:

                                         *       *        *
   ITEM V. PRIMARY INSURER:

          Company              Policy Period          Policy No.   Limit of Liability   Deductible
    Ironshore Specialty      From: 10/1/2014          000728305      $10,000,000        $1,000,000
    Insurance Company        To: 10/1/2015

   ITEM VI. UNDERLYING EXCESS INSURERS:

         Company       Policy Period              Policy No.             Limit of Liability
    Lexington         From: 10/1/2014            01-615-04-33      $10,000,000 excess $10,000,000
    Insurance Company To: 10/1/2015

                                             *       *        *
       61.     The BCS Policy provides follow form coverage subject to the same conditions,

representations, limitations, and other terms of the Ironshore E&O Policy, except as otherwise

provided in the BCS Policy. The BCS Policy is a claims-made policy and affords follow-form

coverage in excess of the Ironshore E&O Policy and the Lexington Policy as follows:

           Issued to the BCS PROFESSIONAL LIABILITY INSURANCE TRUST
                                (BankNewport as Trustee)
                                 This is a Claims Made Policy.


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In consideration of the premium paid and subject to the conditions, limitations and
other terms of this Excess Policy, and in reliance on the statements made and
information furnished by the Insureds in the Application or the underwriting of this
Policy, BCS Insurance Company (hereinafter, the Company) agrees as follows:
1.    INSURING CLAUSE: Subject to the terms and conditions of this Excess
      Policy, the Company shall provide to the Insureds insurance coverage for
      Claims first made during the Policy Period, including the Discovery Period if
      exercised.
2.    FOLLOW FORM COVERAGE: Except as otherwise stated herein, this
      Excess Policy is subject to the same conditions, representations, limitations
      and other terms as are contained in the Primary Policy as of inception of this
      Excess Policy. In the event of any conflict between the terms, conditions, and
      limitations of this Excess Policy and any Underlying Policy, the terms,
      conditions, and limitations of this Excess Policy shall control.
      To the extent the terms, conditions or limitations of the Followed Policy are
      changed to limit or restrict coverage, this Excess Policy shall become subject
      to such changes upon the effective date of the change in the Followed Policy.
      To the extent the terms, conditions or limitations of the Followed Policy are
      changed to expand or broaden coverage, this Excess Policy shall become
      subject to such changes only if and to the extent the Company agrees to such
      changes in writing and the Insureds pay any additional premium reasonably
      required by the Company for such changes.
      If any Underlying Policy(ies) contains a specific grant of coverage that is
      subject to a sublimit of liability, then coverage under this Excess Policy shall
      not apply to any Claim which is otherwise subject to such grant of coverage.
      However, any loss paid under the Underlying Policy(ies) on account of such
      Claim shall erode or exhaust the Underlying Limit for purposes of this Excess
      Policy.
                                 *         *      *

                                Endorsement No. 3
     AMENDMENT TO THE PLANS’ EXCESS LIABILITY INSURANCE
        POLICY, PARAGRAPH 3, ATTACHMENT OF LIABILITY
                       ENDORSEMENT
                            Issued to the
           BCS PROFESSIONAL LIABILITY INSURANCE TRUST
                       (BankNewport as Trustee)
This Endorsement, effective at 12:01 a.m. on October 1, 2014, forms part of:
Excess Certificate No.:        MCE4300002
Issued to:                     Premera
Issued By:                     BCS Insurance Company


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       In consideration of the premium paid, BCS Insurance Company (“Company”) and
       the Insureds agree that paragraph 3, ATTACHMENT OF LIABILITY, of the
       PLAN’S EXCESS LIABILITY INSURANCE POLICY is hereby deleted and
       replaced with the following:
             3.   ATTACHMENT OF LIABILITY: The Company's liability to pay
                  under this Excess Policy shall attach only when (i) the insurers of the
                  Underlying Policy(ies), the Insureds, and/or any other party shall have
                  paid in legal currency the full amount of the Underlying Limit as
                  described in Section 5 below, and (ii) the Insureds shall have paid in
                  legal currency the full amount of the Underlying Limit as described in
                  Section 5 below and the retention or deductible, if any, applicable under
                  the Primary Policy.
                  This Excess Policy shall not drop down for any reason, including, but
                  not limited to, uncollectability (in whole or in part) of any Underlying
                  Policy(ies). The risk of uncollectability of the Underlying Polices(ies),
                  whether because of financial impairment or insolvency of an underlying
                  insurer or for any other reason, is expressly retained by the Insureds and
                  is not in any way or under any circumstances insured or assumed by the
                  Company.
                  Notwithstanding anything in this Excess Policy to the contrary, if with
                  respect to any Claim the Underlying Limit is reduced or exhausted by
                  payments by the Insureds or any party other than the insurers of the
                  Underlying Policy(ies), then the Insured shall provide to the Company
                  satisfactory evidence of the payments by the Insureds and such other
                  party.
       This endorsement forms a part of this Excess Policy to which attached, effective on
       the inception date of the policy unless otherwise stated herein.
The terms, conditions and definitions of the Ironshore E&O Policy are specifically

incorporated into the BCS Policy, including but not limited to the definitions for “Wrongful

Act,” “Managed Care,” and “Private Information Protection.”

       62.     The BCS Policy includes the following definitions:
                                          *       *       *
       11.     DEFINITIONS:
               Terms defined in the Followed Policy are used herein with the meaning
               assigned to them in the Followed Policy unless otherwise stated herein.
               Other capitalized words and phrases are defined below:
               A. Followed Policy means the Primary Policy, unless otherwise provided
                  by endorsement to this Excess Policy.


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                                            *        *     *
              C. Insured Plan means the entity named in Item I of the Declarations.
              D. Primary Policy means the policy described in Item V of the
                 Declarations.
                                            *        *     *
              F.   Underlying Limit means the amount set forth in Item IV of the
                   Declarations, plus the retention or deductible, if any, applicable under
                   the Primary Policy.
                                            *        *     *
        VI. DEMANDS FOR COVERAGE AND RESERVATIONS OF RIGHTS
       63.    Premera tendered the defense and indemnification of the MDL Action and the

AG Actions to ASIC, Ironshore and Lexington.

       64.    In or around February 2019, following a series of mediation sessions with the

MDL Plaintiffs, Premera and its insurers agreed to settle the MDL Action for a combined

payment of $32 million. ASIC contributed $12.2 Million to the MDL Settlement pursuant to the

ASIC Primary Policy and the ASIC Umbrella Policy, subject to a reservation of rights to

subrogate against Lexington and BCS.

       65.    ASIC contributed approximately $12.2 million to protect Premera’s interests,

while Lexington refused to contribute to the MDL Settlement, even after Ironshore exhausted its

primary E&O Policy limits by contributing $10 million to the MDL Settlement.

       66.    On or around April 3, 2019, the Office of the Attorney General of the State of

Washington wrote to Premera on behalf of the Multistate Executive Committee of State

Attorneys General regarding potential terms of a settlement of the AG Actions. On July 11,

2019, following a series of negotiations and an agreement to settle the AG Actions for

$10 million, the state Attorneys General filed their respective complaints and consent judgments

against Premera.




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          67.    ASIC contributed approximately $2.9 million to the AG Settlement, pursuant to a

reservation of ASIC’s right to later subrogate against Lexington and BCS.

          68.    ASIC contributed approximately $2.9 million to protect Premera’s interests.

Lexington contributed $2.7 million to the AG Settlement. Lexington refused to fund the entire

AG Settlement even though the Ironshore E&O Policy limits had been exhausted, and the

Lexington Policy and the BCS Policy specifically afforded coverage for the fines and penalties

on which the AG Settlement was based.

          69.    The MDL Settlement and the AG Settlement were covered by the Lexington

Policy and the BCS Policy, because the E&O Policies specifically afford coverage for Premera’s

alleged errors and omissions in maintaining and securing its computer network and for Premera’s

failure to use reasonable means to protect and safeguard the consumers’ personal information.

The ASIC Primary Policy and the ASIC Umbrella Policy do not provide coverage for such

losses.

                              COUNT I
      DECLARATORY JUDGMENT—LEXINGTON AND BCS HAVE A DUTY TO
        INDEMNIFY PREMERA FOR THE MDL SETTLEMENT AND THE AG
                            SETTLEMENT
          70.    ASIC repeats and realleges the allegations of paragraphs 1 through 69 as if set

forth fully herein.

          71.    Ironshore contributed $10 million to the MDL Settlement and exhausted the limit

of liability of its E&O Policy.

          72.    Lexington and BCS provided coverage for “Loss which the Insured is legally

obligated to pay as a result of any Claim” first made against the Insured and reported during the

policy period.

          73.    The Lexington Policy and the BCS Policy incorporated the operative definitions

from the Ironshore E&O Policy and likewise afforded coverage, subject to reduction or

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exhaustion of the “Underlying Limits” for the same “Managed Care Service” and “Private

Information Protection” covered by the Ironshore E&O Policy.

       74.     The Lexington Policy provided follow-form coverage for sums that Premera

became legally obligated to pay as damages in excess of the Underlying Limits of the Ironshore

E&O Policy.

       75.     The BCS Policy provided follow-form coverage for the sums Premera became

legally obligated to pay as damages in excess of the liability limits of the Ironshore E&O Policy

and the Lexington Policy.

       76.     The MDL Settlement and the AG Settlement were based on claims first made

against Premera and reported during the Lexington Policy and BCS Policy periods and based on

allegations that Premera inadequately safeguarded against security breaches and failed to comply

with security and privacy information regulations, which led to the unauthorized access of its

customers’ confidential information, in violation of HIPAA.

       77.     The Ironshore E&O Policy expressly afforded coverage for the claims settled in

the MDL Settlement and AG Settlement, because it covered errors and omissions in the “failure

to maintain confidentiality of information regarding Medical Service or information obtained in

the provision of Managed Care Service and limiting the release or use of such information in

conformance with the requirements of the law.” Moreover, Managed Care Service is defined by

the Ironshore E&O Policy to include Premera’s “[c]reation, operation, maintenance and use of

the Insured Entity’s [Premera’s] website or network”.

       78.     The Ironshore E&O Policy likewise expressly afforded coverage to Premera for

the claims that were settled in the MDL Settlement and the AG Settlement, including any fines

or penalties imposed under HIPAA or any similar local, state or federal privacy statute. Because

the MDL Settlement and AG Settlement were covered under the Ironshore E&O Policy, they


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were also covered under the Lexington Policy and the BCS Policy subject to the reduction or

exhaustion of each policy’s Underlying Limits.

        79.     An actual and justiciable controversy currently exists between ASIC, on the one

hand, and Lexington and BCS, on the other hand, and pursuant to the Uniform Declaratory

Judgment Act, 28 U.S.C. §§ 2201 and 2202. This Court is vested with the power to declare the

rights and liabilities of the parties hereto with respect to the MDL Settlement and the AG

Settlement and to grant such relief as it deems necessary and proper.

                            COUNT II
 DECLARATORY JUDGMENT—ASIC HAD NO DUTY TO INDEMNIFY PREMERA
 FOR THE MDL SETTLEMENT AND THE AG SETTLEMENT PURSUANT TO THE
   INSURING AGREEMENTS OF THE ASIC PRIMARY POLICY AND THE ASIC
                       UMBRELLA POLICY
        80.     ASIC repeats and realleges the allegations of paragraphs 1 through 79 as if set

forth fully herein.

        81.     The MDL Settlement and the AG Settlement were based on claims that Premera

inadequately safeguarded against security breaches and failed to comply with security and

privacy laws, which lead to the unauthorized access of its customers’ confidential information in

violation of HIPAA.

        82.     The AG Settlement was comprised of monetary penalties, fees and costs that were

used by each respective Attorney General, such as Washington’s Attorney General, for the

investigation of the Premera data breach and for the future enforcement and investigation of

unfair business practices.

        83.     The ASIC Primary Policy and the ASIC Umbrella Policy did not provide

coverage for the MDL Settlement and the AG Settlement because the damages, including

monetary penalties, fees and costs, and other injuries caused by data breaches, are not for




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damages because of “bodily injury,” “property damage,” or “personal and advertising injury” as

defined by the ASIC Primary Policy and the ASIC Umbrella Policy.

        84.     An actual and justiciable controversy currently exists between ASIC, on the one

hand, and Lexington and BCS, on the other hand, and pursuant to the Uniform Declaratory

Judgment Act, 28 U.S.C. §§ 2201 and 2202. This Court is vested with the power to declare the

rights and liabilities of the parties hereto with respect to the MDL Settlement and to grant such

relief as it deems necessary and proper.

                            COUNT III
 DECLARATORY JUDGMENT—ASIC HAD NO DUTY TO INDEMNIFY PREMERA
 FOR THE MDL SETTLEMENT OR THE AG SETTLEMENT PURSUANT TO THE
   EXCLUSION FOR DISTRIBUTION OF MATERIAL IN VIOLATION OF LAW
        85.     ASIC repeats and realleges the allegations of paragraphs 1 through 84 as if set

forth fully herein.

        86.     The claims at issue in the MDL Settlement and the AG Settlement were based on

Premera’s failure to safeguard its computer network, which resulted in the disclosure of

customers’ confidential information in violation of HIPAA and industry standards.

        87.     The ASIC Primary Policy excluded coverage for “personal and advertising

injury” arising directly or indirectly out of any action or omission that violates or is alleged to

violate “any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-

SPAM Act of 2003, FCRA and their amendments and additions, that addresses, prohibits, or

limits the printing, dissemination, disposal, collecting, recording, sending, transmitting,

communicating or distribution of material or information.”

        88.     Even if the MDL Settlement and the AG Settlement arose out of claims for

damages because of “personal and advertising injury,” the ASIC Primary Policy’s exclusion for

distribution of material in violation of law precluded coverage for the claims on which those



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settlements were based, because they arose out of Premera’s failure to safeguard its computer

network, resulting in the transmission of material and information in violation of HIPAA.

        89.     The ASIC Umbrella Policy similarly excluded coverage for “personal and

advertising injury,” “bodily injury” or “property damage” arising directly or indirectly out of any

action or omission that violates or is alleged to violate any federal, state or local statute,

ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003, FCRA and their

amendments and additions, that addresses, prohibits, or limits the printing, dissemination,

disposal, collecting, recording, sending, transmitting, communicating or distribution of material

or information.

        90.     Even if the MDL Settlement and the AG Settlement arose out of claims for

damages because of “bodily injury,” “property damage” or “personal and advertising injury,” the

ASIC Umbrella Policy’s exclusion for distribution of material in violation of law precluded

coverage for the claims on which those settlements were based, because they arose out of

Premera’s failure to safeguard its computer network, resulting in the transmission of material and

information in violation of HIPAA.

        91.     An actual and justiciable controversy currently exists between ASIC, on the one

hand, and Lexington and BCS, on the other hand, and pursuant to the Uniform Declaratory

Judgment Act, 28 U.S.C. §§ 2201 and 2202. This Court is vested with the power to declare the

rights and liabilities of the parties hereto with respect to the MDL Settlement and the AG

Settlement and to grant such relief as it deems necessary and proper.

                          COUNT IV
 DECLARATORY JUDGMENT—ASIC HAD NO DUTY TO INDEMNIFY PREMERA
 FOR THE MDL SETTLEMENT OR THE AG SETTLEMENT PURSUANT TO THE
               PROFESSIONAL SERVICES EXCLUSION
        92.     ASIC repeats and realleges the allegations of paragraphs 1 through 91 as if set

forth fully herein.

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       93.     The claims at issue in the MDL Settlement and the AG Settlement arose out of

Premera’s failure to render professional services, including but not limited to Premera’s failure to

maintain its customers’ confidential records; breach of fiduciary obligations to its customers; and

the failure to design and maintain a computer network to maintain the security of its customers’

confidential records.

       94.     The ASIC Primary Policy and the ASIC Umbrella Policy excluded coverage for

“bodily injury,” “property damage,” or “personal and advertising injury” arising out of

professional services including: auditing or maintaining records of others; acting in any capacity

as a fiduciary or trustee; and performing systems analysis, design and programming or

consulting.

       95.     Even if the MDL Settlement and the AG Settlement arose out of claims for

damages because of “bodily injury,” “property damage,” or “personal and advertising injury,”

the ASIC Primary Policy and the ASIC Umbrella Policy’s professional services exclusions

precluded coverage for the claims, because they arose out of maintenance of the customers’

confidential records; breach of fiduciary obligations to Premera’s customers; and the failure to

design and maintain a computer network to secure its customers’ confidential records.

       96.     An actual and justiciable controversy currently exists between ASIC, on the one

hand, and Lexington and BCS, on the other hand, and pursuant to the Uniform Declaratory

Judgment Act, 28 U.S.C. §§ 2201 and 2202. This Court is vested with the power to declare the

rights and liabilities of the parties hereto with respect to the MDL Settlement and the AG

Settlement and to grant such relief as it deems necessary and proper.




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                            COUNT V
 DECLARATORY JUDGMENT—ASIC HAD NO DUTY TO INDEMNIFY PREMERA
 FOR THE MDL SETTLEMENT OR THE AG SETTLEMENT PURSUANT TO THE
                 FINES AND PENALTIES EXCLUSION
        97.     ASIC repeats and realleges the allegations of paragraphs 1 through 96 as if set

forth fully herein.

        98.     The MDL Settlement and the AG Settlement included fines or penalties imposed

under HIPAA or similar local privacy statutes.

        99.     The ASIC Primary Policy and the ASIC Umbrella Policy excluded coverage for

“bodily injury,” “property damage,” or “personal and advertising injury” for Premera’s

obligations to pay fines and penalties.

        100.    Even if the MDL Settlement and AG Settlement arose out of claims for damages

because of “bodily injury,” “property damage,” or “personal and advertising injury,” the ASIC

Primary Policy and the ASIC Umbrella Policy’s fines and penalties exclusion precludes coverage

for any portion of the MDL Settlement and the AG Settlement allocated to fines and penalties.

        101.    An actual and justiciable controversy currently exists between ASIC, on the one

hand, and Lexington and BCS, on the other hand, and pursuant to the Uniform Declaratory

Judgment Act, 28 U.S.C. §§ 2201 and 2202. This Court is vested with the power to declare the

rights and liabilities of the parties hereto with respect to the MDL Settlement and the AG

Settlement and to grant such relief as it deems necessary and proper.

                                    COUNT VI
                      CONTRACTUAL AND EQUITABLE SUBROGATION
        102.    ASIC repeats and realleges the allegations of paragraphs 1 through 101 as if set

forth fully herein.

        103.    Premera sought indemnification for the MDL Settlement and the AG Settlement

from its insurers.


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       104.    ASIC contributed $12.2 million toward the MDL Settlement under the ASIC

Primary Policy and the ASIC Umbrella Policy, pursuant to a reservation of ASIC’s right to later

subrogate against Lexington and BCS.

       105.    ASIC contributed approximately $12.2 million to protect Premera’s interests,

while Lexington refused to contribute to the MDL Settlement, even after Ironshore, the

underlying primary E&O carrier, contributed $10 million to the MDL Settlement and exhausted

the Ironshore E&O Policy limits of liability.

       106.    Premera likewise sought indemnification for the AG Settlement under the E&O

Policies and under the ASIC Primary Policy and the ASIC Umbrella Policy.

       107.    ASIC contributed approximately $2.9 million toward the AG Settlement pursuant

to a reservation of its rights to later subrogate against Lexington and BCS.

       108.    ASIC contributed approximately $2.9 million to protect Premera’s interests.

Lexington contributed $2.7 million to the AG Settlement. Lexington refused to fund the entire

AG Settlement even though the Ironshore E&O Policy limits had been exhausted, and the

Lexington Policy specifically afforded coverage for the fines and penalties on which the AG

Settlement was based. ASIC seeks to recover from Lexington and BCS up to $15.1 million that

ASIC contributed to the MDL Settlement and the AG Settlement, pursuant to common law

theories of contractual and equitable subrogation.

       109.    Because ASIC contributed to the MDL Settlement and the AG Settlement on

Premera’s behalf and indemnified Premera for amounts owed solely by Lexington and BCS

under the Lexington Policy and the BCS Policy, ASIC is entitled to recover the entire $15.1

million that ASIC paid to protect the interests of Premera.

       110.    An actual controversy exists between ASIC, on one hand and Lexington and BCS,

on the other hand, pursuant to ASIC’s common law contractual and equitable subrogation rights.


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This Court is vested with the power to declare the rights and liabilities of the parties hereto and

to grant such relief as it deems necessary and proper.

                                 VII. PRAYER FOR RELIEF
       WHEREFORE, Plaintiff Atlantic Specialty Company prays as follows:

       1.      For a declaration that Lexington Insurance Company and BCS Insurance

Company had a duty to indemnify Premera for the payment of the MDL Settlement and the AG

Settlement;

       2.      For a declaration that Atlantic Specialty Insurance Company did not have a duty

to indemnify Premera for the payment of the MDL Settlement and the AG Settlement;
       3.      Monetary judgment for $15.1 million awarded against Lexington Insurance

Company and BCS Insurance Company and in favor of Atlantic Specialty Insurance Company,

pursuant to equitable principles of contractual subrogation and/or equitable subrogation; and

       4.      All other relief deemed appropriate by this Court.


                                                  INTACT U.S. COVERAGE LITIGATION GROUP


 Dated: November 5, 2020                          By: /s/ Matthew J. Gollinger
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